USDC IN/ND case 2:09-cr-00043-TLS-PRC   document 405   filed 08/31/11   page 1 of 3


                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff/Respondent,                    )
                                          )
 vs.                                      )    NO. 2:09-cr-43
                                          )
 HANEEF JACKSON-BEY,                      )
                                          )
 Defendant/Petitioner.                    )


                           OPINION AND ORDER

       This matter is before the Court on the: (1) Motion Under 28

 U.S.C. Section 2255 To Vacate, Set Aside, Or Correct Sentence By a

 Person in Federal Custody, filed by Petitioner, Haneef Jackson-Bey,

 on August 23, 2011 (DE #402); (2) Prisoner Petition to Proceed In

 Forma Pauperis, filed by Petitioner, Haneef Jackson-Bey, on August

 23, 2011 (DE #403); and (3) Verified Motion for Appointment of

 Counsel, also filed by Petitioner, Haneef Jackson-Bey, on August

 23, 2011 (DE #404).     For the reasons set forth below, the section

 2255 motion (DE #402) is hereby TAKEN UNDER ADVISEMENT.                     The

 Government is ORDERED to file its response to this motion on or

 before September 30, 2011, citing case law where appropriate.

 Petitioner is ORDERED to file a reply, if any, on or before October

 31, 2011.     The Petition to Proceed In Forma Pauperis (DE #403) is

 DENIED.     The Request for Appointment of Counsel (DE #404) is also
USDC IN/ND case 2:09-cr-00043-TLS-PRC       document 405   filed 08/31/11    page 2 of 3


 DENIED.

       Jackson-Bey has filed both a Petition to Proceed in Forma

 Pauperis and a Motion for Appointment of Counsel.                   There is no

 filing fee for §2255 petitions.              Usually, an in forma pauperis

 petition (IFP) is only filed if a petitioner lacks funds for

 transcripts, counsel, appeal or other costs connected to his

 motion.    See Rule 3, Rules Governing Section 2255 Proceedings,

 Advisory    Committee   Notes.     Thus,       Jackson-Bey's      IFP      will   be

 construed together with his request for counsel.

       From Jackson-Bey’s affirmation, and the attached original

 certificate of prisoner account, it appears that he is indigent.

 However, as mentioned before, there is no filing fee or service

 requirement for a § 2255 petition.              The decision of whether to

 appoint counsel rests in the discretion of the district court,

 unless the denial of counsel would result in fundamental unfairness

 impinging on the petitioner's due process rights.                     Winsett v.

 Washington, 130 F.3d 269, 281 (7th Cir. 1997); see 18 U.S.C. §

 3006A(a)(2)(B) (“Whenever . . . the court determines that the

 interests of justice so require, representation may be provided for

 any financially eligible person who . . . is seeking relief under

 section 2241, 2254, or 2255 of title 28.”).                  Furthermore, the

 Seventh Circuit has noted that "[a] section 2255 proceeding is an

 independent civil suit for which there is no constitutional right

 to appointment of counsel."        Oliver v. United States, 961 F.2d


                                        2
USDC IN/ND case 2:09-cr-00043-TLS-PRC           document 405        filed 08/31/11    page 3 of 3


 1339, 1343 (7th Cir. 1992) (citing Rauter v. United States, 871

 F.2d 693 (7th Cir. 1989)).

         Upon review of Jackson-Bey's Section 2255 petition, this Court

 finds that this is not a situation where failure to appoint counsel

 would    impinge   petitioner's      due        process      rights.         No     argument

 submitted by Jackson-Bey, on its face, is particularly strong.

 Jackson-Bey entered a plea agreement in this case, thus, some of

 his arguments may be waived.           Moreover, Jackson-Bey’s arguments

 that    his   guilty   plea   was    not       made    voluntarily         or     with   full

 understanding (ground one), that it was coerced (ground two), that

 it   violates    the   privilege     against          self    incrimination         (ground

 three), and that the prosecution failed to disclose important

 evidence (ground four), do not constitute novel legal issues.

 Finally, although Jackson-Bey lacks legal training, he was able to

 sufficiently     articulate    the    bases        for       his   claims       without    an

 attorney.       Therefore, Jackson-Bey’s request for appointment of

 counsel and IFP status are DENIED.




 DATED: August 31, 2011                           /s/ RUDY LOZANO, Judge
                                                  United States District Court




                                            3
